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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

SCOMA CHIROPRACTIC, P.A., a Florida               )
corporation, individually and as the              )
representative of a class of similarly-situated   )
persons,                                          )
                                                  )
                       Plaintiff,                 )    Civil Action No: 2:17-CV-00183-UA
                                                  )
               v.                                 )    CLASS ACTION
                                                  )
ALL CARE CONSULTANTS, INC., a                     )
Florida corporation, LISA GOLDBERG and            )
JOHN DOES 1-5,                                    )
                                                  )
                       Defendants.                )

                           NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(i), Plaintiff, SCOMA CHIROPRACTIC, P.A.

through its undersigned attorneys, hereby dismisses this action without prejudice.

                                                      Respectfully submitted,

                                                      SCOMA CHIROPRACTIC, P.A.

                                                      By: s/Ryan M. Kelly
                                                            Ryan M. Kelly – FL Bar. 90110

                                                      ANDERSON + WANCA
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 21, 2016, I electronically filed the foregoing Joint Stipulation
of Dismissal with the Clerk of the Court using the CM/ECF system which will send notification
of such filings to all counsel of record.



                                                      /s/Ryan M. Kelly




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